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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                PANAMA CITY DIVISION


JAMES WARREN HOLLAND,

       Plaintiff,
v.                                                    CASE NO. 5:03-cv-00323-SPM-AK

EFLONG ANDEM,
JAMES V CROSBY,
DONOVAN HAMILTON,

     Defendants.
___________________________/

                                        ORDER

       This matter is before the Court on Defendant Andem’s for Extension of Time to

File his Special Report. (Doc. 33). The motion is GRANTED, and Defendant Andem

shall have through June 10, 2005, to file his special report.


       DONE AND ORDERED at Gainesville, Florida, this 10th        day of May, 2005.


                                          s/ A. KORNBLUM
                                          ALLAN KORNBLUM
                                          UNITED STATES MAGISTRATE JUDGE
